              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

            -vs-                                    Case No. 96-CR-4


JERRY WALKER,

                   Defendant.

                       DECISION AND ORDER

      Before the Court is Defendant Jerry Walker’s (Walker) motion to

reduce his sentence pursuant to Amendment 782 of the United States

Sentencing Guidelines which lowered the penalties for most drug offenses

by reducing most offense levels on the 2D1.1 Drug Quantity Table by two

levels. 18 U.S.C. § 3582(c) allows the Court to reduce a defendant’s

sentence if two criteria are satisfied: (1) the U.S. Sentencing Commission

has lowered the applicable guideline range, and (2) the reduction is

consistent with applicable policy statements issued by the Commission.

      Unfortunately for Walker, the first criteria for a reduction has not

been met in his case. While Amendment 782 reduces his base offense level

from 38 to 36, Walker’s guideline range is not changed by this reduction—

his amended guideline range remains life imprisonment. The Court is not


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authorized under § 3582 to modify the term of imprisonment imposed “if …

the amendment does not have the effect of lowering the defendant’s

applicable guideline range … .” USSG § 1B1.10 app. note 1(A). Accordingly,

his motion must be denied.

      IT IS HEREBY ORDERED THAT:

      Walker’s motion to reduce sentence (ECF No. 556) is DENIED.


      Dated at Milwaukee, Wisconsin, this 18th day of November, 2015.


                                         BY THE COURT:


                                         __________________________
                                         HON. RUDOLPH T. RANDA
                                         U.S. District Judge




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